     Case:19-00029-MCF Doc#:19 Filed:06/13/19 Entered:06/13/19 12:06:49       Desc: Main
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 1                        IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3    IN RE:                                      CASE NO. 17-02357-MCF7
                                                  Chapter 7
      PABLO JOSE CAMACHO CANDELARIO
 4
      JENNIFER RODRIGUEZ CRUZ
 5                                                ADVERSARY NUMBER: 19-00029-MCF
                      Debtor(s)
 6    PABLO JOSE CAMACHO CANDELARIO
      JENNIFER RODRIGUEZ CRUZ
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 8
                     Plaintiff(s)
                                                     FILED & ENTERED ON JUN/13/2019
 9    GLORIA L CARRILLO SANCHEZ
      LILIANA MORELL BRIGANTINOS
10
      TOWER BONDING & SURETY CO INC
11

12                   Defendant(s)

13
                                      ENTRY OF DEFAULT
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           It appears from the record that the following defendants failed to plead
16
     or otherwise defend in this case as required by law.
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19             Name: Gloria L. Carrillo Sanchez

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                     Liliana Morell Brigantinos
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22
           Therefore, default is entered against the defendant as authorized by
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     Federal Rule of Bankruptcy Procedure 7055.
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           Plaintiff shall, within 28 days from the entry of default, move for
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     default judgment or default hearing and comply with the affidavit requirement
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     under 50 USC § 3931, Fed. R. Bankr. P. 7055, and Bankr. D.P.R. R. 9013(a)(4)(B).
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 1   Failure to comply with this order may result in the dismissal of the case

 2   without further notice or need of a hearing. Clerk is to follow up.

 3         IT IS SO ORDERED.

 4         In San Juan, Puerto Rico, this 13 day of June, 2019.

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